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203. As set forth above, AstraZeneca’s scheme to inflate its reported AWPs, market
the resulting spread, and channel to providers “free” goods — all in order to increase the market
share of its drugs — has resulted in excessive overpayments by Plaintiffs and the Class.

204, In January 2002, a federal grand jury in Wilmington, Delaware returned an
indictment accusing a New Jersey doctor of conspiring with AstraZeneca to resell free samples
of Zoladex® that AstraZeneca sales representatives had given the doctor. The indictment
alleges that AstraZeneca (i) sold Zoladex® to the New Jersey doctor and others at prices
substantially below the AWP reported by AstraZeneca and (ii) provided the New Jersey Doctor
with materials showing how much more profit he could make by using Zoladex® instead of its

competitor, Lupron®.

D. The Aventis Group (Aventis, Pharma, Hoechst and Behring)

205. The Aventis Group has engaged in an ongoing deliberate scheme to inflate
AWPs. For example, by letter dated May 4, 2000 to the CEO of Behring, U.S. Rep. Thomas J.

Bliley states:

The Office of Inspector General (OIG) at the Department of
Health and Human Services determined that the Medicare-
allowed amount for immune globulin, a pharmaceutical product
sold by your company under the name Gammar, in Fiscal Year
1996 was $42.21. The OIG further estimated that the actual
wholesale price of this drug was $16.12 and the highest available
wholesale price that the OIG was able to identify was $32.11.

206. The government’s investigation revealed similar inflated pricing implemented
by The Aventis Group with respect to the injectable form of Anzemet®. In a September 28,
2000 letter to Alan F. Holmer, President of the Pharmaceutical Research and Manufacturers of

America, U.S. Rep. Pete Stark provided a synopsis of the scheme implemented by Hoechst:

The following chart represents a comparison of Hoechst’s
fraudulent price representations for its injectable form of the drug
versus the truthful prices paid by the industry insider. It is [sic]
also compares Hoechst’s price representations for the tablet form
of Anzemet and the insider’s true prices. It is extremely
interesting that Hoechst did not create a spread for its tablet form

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of Anzemet but only the injectable form. This is because
Medicare reimburses Doctors for the injectable form of this drug
and by giving them a profit, can influence prescribing. The tablet
form is dispensed by pharmacists, who accept the Doctor’s order.
And this underscores the frustration that federal and state
regulators have experienced in their attempts to estimate the
truthful prices being paid by providers in the marketplace for
prescription drugs and underscores the fact that, if we cannot rely
upon the drug companies to make honest and truthful
representations of their prices, Congress will be left with no
alternative other than to legislate price controls.

NDC No: Unit Size/ Quantity | Net Price as | True Variance
Type Represented | Wholesale
to Florida Price
Medicaid
0088-1206-32 | 100mg/Sml | 1 $124.90 $70.00 Represented
Injectable price 78%
higher than
true wholesale
price.

207. The government investigation further revealed that the Aventis Group’s
fraudulent AWP scheme gave them the intended advantage over their competitors. An internal

GlaxoWellcome, Inc. memo describes some of the effects:

GLAXO: “There is a decline in Zofran [Glaxo’s competing
product] usage at Louisiana Oncology in Baton Rouge,
Louisiana. Kevin Tumer ...has seen a drastic decline in Zofran
usage at this clinic over the last few months. The reason for this
decline is strictly a reimbursement issue. This clinic has started
using Anzemet because it is more profitable. Kevin has learned
that this clinic is buying Anzemet for $58.00 for a 100 mg vial,
which gives them a $84.29 profit from Medicare. They are
buying a 40 mg vial of Zofran for $145.28. If they use 32 mg of
Zofran, which is $3.63 per mg, this will net this clinic $69.60
from Medicare reimbursement. Clearly Anzemet has a
reimbursement advantage over Zofran....”

208. The government’s investigation has uncovered substantial evidence that the
Aventis Group’s fraudulent practices are widespread. For example, in a report published by
DHHS, the DOJ documented at least 15 instances where the published AWPs for drugs
manufactured by the Aventis Group were substantially higher than the actual prices listed by

wholesalers.

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209. The chart below sets forth four examples where the Aventis Group deliberately
inflated AWPs that it reported for Aventis Group drugs. These figures compare the DOJ’s
determination of an accurate AWP, based upon wholesalers’ price lists, with the AWP reported

by the Aventis Group in the 2001 Red Book.

Drug The Aventis DOJ Difference Spread
Group’s 2001 Determined
Red Book AWP_| Actual AWP
Dolasetron Mesylate $166.50 $74.08 $92.42 125%
(Anzemet)
Factor VIL/Bioclate $1.25 $.91 $.34 37%
Factor VII/Helixate $1.18 $.78 $.40 51%
Immune Globulin $400.00 $296.67 $103.33 35%
(Gammar)

210. The OIG (see OEI-03-00-00310) further revealed that: (i) the AWP for all
immune globulin 5 mg doses listed in the 1997 Red Book were inflated by an average spread of
32.21%; (1i) a 10 mg dose of Anzemet® had a Medicare Median of $14.82 and a Catalog
Median of $8.29, resulting in a spread of 78.76%; and (iii) a 20 mg dose of Taxotere® had a
Medicare Median of $283.65 and a Catalog Median of $8.29, resulting in a spread of 18.75%.

211. As set forth above, the Aventis Group’s scheme to inflate its reported AWPs and
market the resulting spread to increase the market share of its drugs has resulted in excessive

overpayments by Plaintiffs and the Class.

E. Baxter
212. Baxter has engaged in an ongoing deliberate scheme to inflate AWPs in order to
increase the market share of its products. Baxter’s AWP scheme is widespread and the
government investigation has documented substantially inflated AWPs associated with Baxter.
213. A Baxter document made public as a result of the congressional investigation
entitled, “Confidential — Baxter Internal Use Only,” acknowledged that: “Increasing AWPs
was a large part of our negotiations with the large homecare companies,” Baxter further

admitted in internal documents that Homecare companies that reimburse based on AWP make

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a significantly higher margin, Thus, Baxter’s own documents demonstrate its active
. . . . 2
participation in the scheme to artificially inflate AWPs.

214. Another Baxter document explains the basis of the AWP scheme:

The deliberate manipulation of AWP or WAC prices is a problem
that we need to address. The spread between acquisition cost and
AWP/WAC is direct profit for customers, and is being used to
increase product positioning in the market by certain
manufacturers.

215. In addition, Baxter’s marketing and sales documents, which were prepared and
disseminated to its employees and agents via the U.S. mail and interstate wire facilities,
compared the costs of their respective drugs to those of their respective competitors and were
intended to induce physicians to use Baxter drugs and shift market share in its favor. Other
documents created and disseminated by Baxter compared the AWP and the actual “cost” of
their respective drugs, so that medical providers could easily see the different “return-to-
practice” amounts available for different levels of purchase.

216. Inareport published by DHHS, the DOJ documented at least 41 instances where
the published AWPs for drugs manufactured by Baxter were substantially higher than the
actual prices listed by wholesalers.

217. The chart below sets forth four examples where Baxter deliberately inflated
AWPs that it reported for Baxter drugs. These figures compare the DOJ’s determination of an
accurate AWP, based upon wholesalers’ price lists, with the AWP reported by Baxter in the

2001 Red Book.

DOJ
Drug in Lowest | Baxter’s 2001 Determined Percentage
Dosage Form_ | Red Book AWP | _ Actual AWP Difference Spread
Dextrose $928.51 $2.25 $926.26 41,167%
Dextrose Sodium $357.69 $2.93 $354.76 12,108%
Chloride
sodium Chloride $928.51 $1.71 $926.80 54,199%
Stark 9/28/00 letter, Exh. 3.
Bliley 9/25/00 letter, Exh. 6.
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DOJ
Drug in Lowest | Baxter’s 2001 Determined Percentage
Dosage Form | Red Book AWP | Actual AWP Difference Spread
Factor VIII $1.28 $.92 $.36 39%

218. Baxter also provided physicians with free goods with the understanding that
physicians would bill for those goods, in violation of federal law. Billing for free goods was a
way for physicians to obtain greater profit at the expense of the Class. Baxter’s fraudulent use
of free goods aimed at increasing market share is evidenced by an internal memorandum from a
Baxter contract administrator to certain field sales managers encouraging the distribution by

U.S. mail or otherwise of free product to achieve overall price reduction:

BAXTER: “The attached notice from Quantum Headquarters was
sent on April 10" to all their centers regarding the reduction on
Recombinate pricing. Please note that they want to continue to
be invoiced at the $.81 price. They have requested that we send
them free product every quarter calculated by looking at the
number of units purchased in that quarter and the $.13 reduction
in price... free product given to achieve overall price
reduction.”

219. As set forth above, Baxter’s scheme to inflate its reported AWPs, market the
resulting spread, and channel to providers “free” goods — all in order to increase the market
share of its drugs — has resulted in excessive overpayments by Plaintiffs and the Class.

F. Bayer

220. Bayer has engaged in an ongoing deliberate scheme to inflate AWPs. As
detailed in a September 28, 2000 letter from Representative Stark to Alan F. Holmer, President
of the Pharmaceutical Research and Manufacturers of America, internal Bayer documents
reveal Bayer’s participation in a scheme to artificially inflate the AWP’s for their products and

to market the spread:

BAYER: “Chris, if Baxter has increased their AWP then we
must do the same. Many of the Homecare companies are paid
based on a discount from AWP. If we are lowed [sic] than
Baxter then the return will be lower to the HHC. It is a very
simple process to increase our AWP, and can be done overnight.”

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221. Bayer, which recently was the subject of an investigation by the DOJ, agreed to
settle claims asserted by the U.S. government and 47 states arising from its fraudulent pricing

and marketing practices. According to the DOJ’s January 23, 2001 press release:

The government’s investigation of the allegations. ..revealed that
[Bayer] beginning in the early 1990s falsely inflated the reported
drug prices — referred to by the industry as the Average
Wholesale Price (AWP), the Direct Price and the Wholesale
Acquisition Cost — used by state governments to set
reimbursement rates for the Medicaid program. By setting an
extremely high AWP and, subsequently, selling the product to
doctors at a dramatic discount, Bayer induced physicians to
purchase its products rather than those of competitors by enabling
doctors to profit from reimbursement paid to them by the
government.

The Bayer AWPs, at issue in the investigation, involved several
of Bayer’s biologic products such as Kogenate, Koate-HP, and
Gamimmune, which are widely used in treating hemophilia and
immune deficiency diseases.

The investigation further revealed that the practice in which
Bayer selectively engaged, commonly referred to as “marketing
the spread,” also has the effect of discouraging market
competition from manufacturers that do not inflate AWPs as a
way of inducing doctors to purchase their products.

222. The government’s investigation has uncovered substantial evidence that Bayer’s
fraudulent practices are widespread. For example, in a report published by DHHS, the DOJ
documented at least 10 instances where the published AWPs for drugs manufactured by Bayer
were substantially higher than the actual prices listed by wholesalers.

223. The chart below sets forth two examples where Bayer deliberately inflated
AWPs that it reported for Bayer drugs. These figures compare the DOJ’s determination of an

accurate AWP, based upon wholesalers’ price lists, with the AWP reported by Bayer in the

2001 Red Book.
Bayer’s 2001 | DOJ Determined
Drug Red Book AWP Actual AWP Difference | Spread
Immune $450.00 $362.50 $87.50 24%
Globulin
Factor VII $0.92 $0.42 $0.50 119%

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224, Ina DHHS OIG report (see OEI-03-00-00310), the government also discovered
that the AWP for all immune globulin pharmaceuticals of a dosage of 5g, including Bayer’s
Gamimune® (Bayer was one of five manufacturers of the dosage listed in the 1997 Red Book),
were over inflated by an average spread of 32.21%.

225. In addition to marketing the spread, Bayer has utilized other impermissible
inducements to stimulate sales of its drugs. These inducements were designed to result in a
lower net cost to the provider while concealing the actual wholesale price beneath a high
invoice price. By utilizing “off-invoice” inducements, Bayer provided purchasers with
substantial discounts meant to gain their patronage while maintaining the fiction of a higher
wholesale price.

226. Evidence of these practices is found in an October 1, 1996 Bayer internal

memorandum addressing volume sales opportunities for the pharmaceutical Kogenate®:

BAYER: “T have been told that our present Kogenate price, $.66
is the highest price that Quantum is paying for recombinant factor
VIL. In order to sell the additional 12mm/u we will need a lower
price. I suggest a price of $.60 to $.62 to secure this volume.
From Quantum’s stand [sic] point, a price off invoice, is the most
desirable. We could calculate our offer in the form of a
marketing grant, a special educational grant, payment for specific
data gathering regarding Hemophilia treatment, or anything else
that will produce the same dollar benefit to Quantum Health
Resources.”

227. As part of its settlement of government claims in 2000, Bayer is required, under
the terms of a corporate integrity agreement, to provide the state and federal governments with
the average selling prices of its drugs — a price which accounts for all discounts, free samples,
rebates and all other price concessions provided by Bayer to any relevant purchaser that result
in a reduction of the ultimate cost to Bayer’s customers.

228. As set forth above, Bayer’s scheme to inflate its reported AWPs and market the

resulting spread to increase the market share of its drugs and its use of other “off invoice”

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rebates and financial inducements to its customers has resulted in excessive overpayments by

Plaintiffs and the Class.

G. The Boehringer Group

229, The Boehringer Group has engaged in an ongoing deliberate scheme to inflate
AWPs in order to increase the market share of its products. Although each of the injectable
form of the drugs marketed by the Boehringer Group is also available from other
pharmaceutical manufacturers and are not brand name pharmaceuticals, the government’s
investigation has uncovered substantial evidence of the Boehringer Group’s fraudulent pricing
practices with respect to its generic pharmaceuticals.

230. The Boehringer Group’s AWP Scheme is widespread and the government
investigation has documented substantially inflated AWPs associated with the Boehringer
Group. For example, in a report published by DHHS, the DOJ documented at least 32
instances where the published AWPs for injectable pharmaceuticals manufactured and
marketed by the Boehringer Group were substantially higher than the actual prices listed by
wholesalers.

231. The chart below sets forth nine examples where the Boehringer Group
deliberately inflated AWPs that it reported for Boehringer Group drugs. These figures compare
the DOJ’s determination of an accurate AWP, based upon wholesalers’ price lists, with the

AWP reported by the Boehringer Group in the 2001 Red Book.

Drug The Boehringer DOJ Difference Spread

Group's 2001 Determined

Red Book Actual AWP

AWP
Acyclovir Sodium $ 528.00 $ 207.00 $ 321.00 155%
Amikacin Sulfate $ 437.50 $ 65.33 $ 372.17 570%
Mitomycin $ 128.05 $ 51.83 $ 76.22 147%
Cytarabine $ 62.50 $ 3.55 $ 58.95 1,661%
Doxorubicin HCL $ 945.98 $ 139.75 $ 806.23 577%
Etoposide $ 110.00 $ 8.45 $ 101.55 1,202%
Leucovorin $ 184.40 $ 2.76 $ 181.64 6,581%
Calcium

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Drug The Boehringer DOI Difference Spread
Group's 2001 Determined
Red Book Actual AWP

AWP
Methotrexate $ 68.80 $ 2.63 $ 66.17 2,516%
Sodium
Vinblastine Sulfate $ 212.50 $ 8.19 $ 204.31 2,495%

232. As set forth above, the Boehringer Group’s scheme to inflate its reported AWPs
and market the resulting spread to increase the market share of its drugs has resulted in
excessive overpayments by Plaintiffs and the Class.

H, Braun

233. Braun has engaged in an ongoing deliberate scheme to inflate AWPs in order to
increase the market share of its products. Although each of the intravenous solutions marketed
by Braun is also available from other pharmaceutical manufacturers and are not brand name
pharmaceuticals, the government’s investigation has uncovered substantial evidence of Braun’s
fraudulent practices with respect to certain generic pharmaceuticals.

234. Braun’s AWP scheme is widespread and the government investigation has
documented substantially inflated AWPs associated with Braun. For example, in a report
published by DHHS, the DOJ documented at least 23 instances where the published AWPs for
intravenous solutions manufactured and marketed by Braun were substantially higher than the
actual prices listed by wholesalers.

235. The chart below sets forth three examples where Braun deliberately inflated
AWPs that it reported for Braun drugs. These figures compare the DOJ’s determination of an
accurate AWP, based upon wholesalers’ price lists, with the AWP reported by Braun in the
2001 Red Book.

Drug Braun’s 2001 DOJ Difference Spread
Red Book Determined
AWP Actual AWP
Dextrose $11.28 $1.61 $9.67 601%
Dextrose Sodium $11.34 $1.89 $9.45 500%
Chloride
Sodium Chloride $11.33 $1.49 $9.84 660%

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236.

resulting spread to increase the market share of its drugs has resulted in excessive

overpayments by Plaintiffs and the Class.

lL The BMS Group (Bristol-Myers, OTN and Apothecon)

237.

As set forth above, Braun’s scheme to inflate its reported AWPs and market the

The BMS Group has engaged in an ongoing deliberate scheme to inflate AWPs.

For example, in a report published by DHHS, the DOJ documented at least 12 instances where

the published AWPs for drugs manufactured by the BMS Group were substantially higher than

the actual prices listed by wholesalers.

238.

The chart below sets forth five examples where the BMS Group deliberately

inflated AWPs that it reported for BMS Group drugs. These figures compare the DOJ’s

determination of an accurate AWP, based upon wholesalers’ price lists, with the AWP reported

by the BMS Group in the 2001 Red Book.

Drug Manufacturer BMS’s DOJ Difference | Percentage

2001 Red Determined Spread
Book AWP |_ Actual AWP

Amikacin Sulfate | Apothecon $32.89 $17.31 $15.58 90%

Amphotercin B Apothecon $17.84 $6.20 $11.64 188%

Bleomycin BMS $609.20 $509.29 $99.91 20%

Sulfate

Cyclophospamide | BMS $102.89 $45.83 $57.06 125%

Etoposide BMS $136.49 $34.30 $102.19 298%

(Vepesid)

239, In 1997, an OIG Report identified three other Medicare Part B drugs with

inflated AWPs — which the 1997 Red Book indicates were manufactured only by the BMS

Group at that time: Paraplatin® (carboplatin), Rubet® (doxorubicin hydrochloride), and

Taxol® (paclitaxel). Sales of these inflated drugs were substantial. For example, Paclitaxel

generated $941 million in revenue for the BMS Group in 1997, and Carboplatin generated $702

million in revenue in 2001.

240.

Group was stating a fraudulent AWP. Specifically:

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The government's investigation uncovered other drugs for which the BMS

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a. In the 2000 edition of the Red Book, BMS reported an
AWP of $1296.64 for Vepesid (Etoposide) for injection
while BMS was actually offering to sell the exact same
drug to a large customer for only $70.00.

b. From 1995 through 1998 the Red Book listed AWP for
BMS’ Blenoxane 15u increased from $276.29 to $304.60,

while the actual cost to physicians declined from $224.22
to $140.00, resulting in a spread of $164.60 in 1998

241. An intemal BMS Group document shows that the AWP set by the BMS Group
for its drugs bears no relation to an actual wholesale price, and is greater than the highest price
actually paid by providers. More specifically, in a discussion about lowering Vepesid’s AWP
in order to create sales for Etopophos, the BMS Group stated that the “AWP for Vepesid would
be reduced from its current level to the highest bid price currently in the marketplace.”

242. BMS Group documents also reveal that physicians were making medical
decisions based on how much profit they could make from the AWP manipulated spread. In
considering provider choice between BMS drugs Etopophos® and Vepesid® (Etoposide), the
BMS Group noted that:

The Etopophos product file is significantly superior to that of
etoposide injection... . Currently, physician practice can take
advantage of the growing disparity between Vepesid’s list price
(and, subsequently, the Average Wholesale Price) and the actual
acquisition cost when obtaining reimbursement for etoposide
purchases. If the acquisition price of Etopophos is close to the
list price, the physician’s financial incentive for selecting the
brand is largely diminished.

243. While the BMS Group and other Defendants have placed the blame for setting
published AWPs on the publications in which the AWPs are contained, another BMS Group
document demonstrates that publications reporting AWPs had no discretion to set AWPs, and
instead published verbatim the prices reported by the BMS Group and other defendants. In the

document, Denise Kaszuba, a senior BMS Group pricing analyst, instructed the Red Book that:

Effective immediately, Bristol-Myers Oncology Division
products factor used in determining the AWP should be changed
from 20.5% to 25%. This change should not effect [sic] any
other business unit of Bristol-Myers Squibb Company.

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244. As part of its scheme the BMS Group also used free drugs and other goods to
encourage participation by physicians. Thus, for example, the BMS Group provided free
Etopophos® to two Miami oncologists in exchange for their agreement to purchase other BMS
Group cancer drugs. Similarly, other documents show that the BMS Group provided free
Cytogards in order to create a lower-than-invoice cost to physicians that purchased other cancer
drugs through OTN. (A Cytogard is a device that prevents spillage of intravenous administered
treatments such as BMS’s cancer drug Etopophos®.)

245. As set forth above, the BMS Group’s scheme to inflate its reported AWPs,
market the resulting spread, and channel to providers “free” goods — all in order to increase the
market share of its drugs — has resulted in excessive overpayments by Plaintiffs and the Class.
J. Dey

246. Dey has engaged in an ongoing deliberate scheme to inflate AWPs. Although
one of the drugs Dey sells, albuterol sulfate, is also available from other pharmaceutical
manufacturers, the government’s investigation has uncovered substantial evidence of Dey’s
fraudulent pricing practices with respect to this drug.

247. Albuterol sulfate, was a focus of the federal government’s investigation into
AWP inflation. OIG found that “Medicare’s reimbursement amount for albuterol was nearly
six times higher than the median catalog price” and that “Medicare and its beneficiaries would
save between $226 million and $245 million a year if albuterol were reimbursed at prices
available to suppliers.” See “Excessive Medicare Reimbursement for Albuterol,” OEI-03-01-
00410, March 2002.

248. The OIG determined that the Medicare-allowed amount for albuterol sulfate in
1996 was $0.42. However the actual wholesale price was $0.15, and the highest available

wholesale price was $0.21.

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249. GAO also found that albuterol sulfate was one of a small number of products
that accounted for a large portion of Medicare spending and volume. More specifically,
albuterol sulfate ranked first in volume of units covered by Medicare, accounting for 65.8% of
total units reimbursed. Furthermore, albuterol sulfate accounted for 6.3% of total Medicare
spending, ranking fifth out of more than 400 covered drugs. See GAO Report to Congressional
Committees, MEDICARE: Payments for Covered Outpatient Drugs Exceed Providers’ Cost,
Tables 1 and 2, pp. 7-8.

250. The government’s investigation has uncovered substantial evidence that Dey’s
fraudulent practices are widespread. For example, in a report published by DHHS, the DOJ
documented at least 15 instances where the published AWPs for drugs manufactured by Dey
were substantially higher than the actual prices listed by wholesalers.

251. The chart below sets forth several drugs for which Dey reported inflated AWPs.
These figures compare the DOJ’s determination of an accurate AWP, based upon wholesalers’

price lists, with the AWP reported by Dey in the 2001 Red Book.

Drug in Lowest 2001 Red Book | DOJ Determined Difference Percentage
Dosage Form AWP AWP Spread
Acetylcysteine $59.88 $25.80 $34.08 132%
Albuterol Sulfate $30.25 $9.17 $21.08 230%
Cromolyn Sodium $42.00 $23.01 $18.99 82%
Metaproterenol $30.75 $11.29 $19.46 172%
Sulfate

252. As part of the scheme, Dey regularly manipulated the spread by changing either
the AWP or the actual sales price for its drugs. Thus, Dey’s spread for albuterol sulfate
drastically increased between 1992 and 1998. In 1992, Dey’s Red Book AWP for albuterol
sulfate (.083% concentration, 3 ml) was $32.30. McKesson’s wholesale price for the drug was
$25.45 (a spread of $6.85 or 27%). By 1998, Dey’s Red Book AWP for the same

concentration/dose of albuterol sulfate had barely slipped to $30.25, while McKesson’s

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wholesale price had plummeted to $10.00 (a spread of $20.25 or 202%). See September 25,
2000 letter from U.S. Rep. Bliley to Nancy-Ann Min DeParle.

253. The federal government is not the only entity to investigate Dey’s scheme to
inflate AWPs. The Attomeys General of Texas and West Virginia recently discovered that due
to over inflated AWPs, both state’s Medicaid programs have been defrauded by Dey for
millions of dollars, Texas alleges that, between 1995 and 1999, it paid $13.7 million for Dey’s
albuterol sulfate and ipratropium bromide, when it should have paid only $8.7 million — an
overcharge of $5 million. West Virginia alleges that Dey and others manipulated the AWP to
significantly overcharge state agencies and residents for several drugs, including albuterol,
from at least 1995 through 2000.

254. As set forth above, Dey’s scheme to inflate its reported AWPs and market the
resulting spread to increase the market share of its drugs has resulted in excessive

overpayments by Plaintiffs and the Class.

K. The Fujisawa Group (Fujisawa Pharmaceutical, Fujisawa Healthcare, Fujisawa
USA)

255. The Fujisawa Group has engaged in an ongoing deliberate scheme to inflate

AWPs. An internal marketing memo references its blatant manipulation of the AWP:

Many thanks to Rick and Brace for adjusting the AWP on the
five gram Vanco [Vancomycin Hydrochloride]. This should lead
to more business .. . I would have liked to see us match Abbott's
AWP for our complete Vanco, and Cefazolin line. I will settle
for the five gram at $1 below Abbott but that means that we still
have to compete at the other end of the equation. For example, if
Abbott's AWP is $163 and their contract is $30 and if our AWP
is $162 we will have to be at least $29 to have the same spread.
Follow?

See letter dated September 28, 2000 from U.S. Rep. Pete Stark to Alan F. Holmer, President of
the Pharmaceutical Research and Manufacturers of America.
256. The government’s investigation has uncovered substantial evidence that the

Fujisawa Group’s fraudulent practices are widespread. For example, in a report published by

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DHHS, the DOJ documented at least 35 instances where the published AWPs for drugs
manufactured by the Fujisawa Group’s were substantially higher than the actual prices listed by
wholesalers.

257. The chart below sets forth six drugs for which the Fujisawa Group reported
inflated AWPs. These figures compare the DOJ’s determination of an accurate AWP, based

upon wholesalers’ price lists, with the AWP reported by The Fujisawa Group.

The Fujisawa DOJ
Group’s 2001 Red Determined
Drug Book AWP Actual AWP Difference Spread
Acyclovir Sodium $565.10; $371.50 $193.60 52%
Dexamethasone $1.04 $.66 $.38 58%
Sodium
Phosphate
Fluorouracil $2.87, $1.20 $1.67 139%
Gentamacin $12.64 $5.40 $7.24 134%
Sulfate
Pentamidine $98.75 $36.00 $62.75 174%
Isethionate ,
Vancomycin $10.97, $7.00 $3.97 57%
Hydrochloride

258. As set forth above, the Fujisawa Group’s scheme to inflate its reported AWPs

and market the resulting spread to increase the market share of its drugs has resulted in

excessive overpayments by Plaintiffs and the Class.

L. The GSK Group

259. The GSK Group has engaged in an ongoing deliberate scheme to inflate AWPs

and to market the spread to increase the sales of its products. For example, in a report

published by DHHS, the DOJ documented at least five instances where the published AWPs

for drugs manufactured by the GSK Group or its related entities were substantially higher than

the actual prices listed by wholesalers.

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Calculation based on the AWP listed in the 1998 Red Book.
Calculation based on the AWP listed in the 1998 Red Book.
Calculation based on the AWP listed in the 1998 Red Book.

Calculation based on the AWP listed in the 1998 Red Book.

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260. The chart below sets forth examples of drugs for which the GSK Group reported
inflated AWPs. These figures compare the DOJ’s determination of an accurate AWP, based

upon wholesalers’ price lists, with the AWP reported by the GSK Group in the 2001 Red Book.

GSK 2001 DOJ Determined
Red Book Actual
Drug AWP AWP Difference | Spread
Ondanestron (Zofran) $128.24 $22.61 $101.63 450%
Granisetron (Kytril) $195.20 $139.04 56.16 40%

261. Perhaps the most flagrant example of the GSK Group’s fraudulent manipulation
of AWPs is found in the documents relating to Glaxo’s Zofran® and SKB’s Kytnil®. These
two drugs both minimize the nausea associated with chemotherapy, and, prior to the merger of
Glaxo and SKB, competed head-to-head. As detailed below, much of that competition
concemed which product could generate the greater spread, or profit, for prescribers; not over

which product was better for patients.

1. Glaxo’s Zofran®

262. A Glaxo marketing document, sent to its sales and marketing personnel via U.S.
Mail and interstate wire facilities, advises that they should emphasize to medical providers both

the benefits of Zofran® and the financial benefits of the spread. Specifically:

By using a 32 mg bag, the physician provides the most effective

dose to the patient and increases his or her profit by $ in

reimbursement as well as paying no upcharges for the bag or

admixing

263. A follow-up internal Glaxo memo, dated October 27, 1994, entitled “Zofran

Pricing Recommendation,” states: “Physician reimbursement for the administration of
intravenous oncology drugs is based on the spread between acquisition cost and the AWP.”
The memo later notes that “Kytril carries a 20% spread between List Price and AWP compared
to Zofran which carries a 16 2/3% spread providing SKB with a significant advantage in the

clinic setting with respect to reimbursement.”

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264. In response to the larger spread being offered on Kytril, this same internal
document discusses several options to increase Zofran’s spread “to balance the reimbursement
spread which currently exists between Zofran and the market in which it competes... .” The

pricing options considered for increasing the “spread” for Zofran® included:

Recommendation #1

4.5% price increase $178.97 to $187.02
Increase AWP 16 2/3% to 20%
$214.76 to $233.78 (8.5%)
3% Wholesaler $187.02 to $172.92
(chargeback)
Rebate $179.92 to $167.31 (rebate)

(11/14/94 - 1/31/95)
265. Inn effort to hide the fact that Glaxo was increasing the spread for Zofran®,

Glaxo elected to not only increase its AWP and provide rebates, but to also include a small
actual price increase. In describing the reason for an increase in the actual selling price, an

internal Glaxo document states:

The recommended multi-tiered modification to current
promotion, should also provide an immediate resultant impact to
weekly unit sales without being easily intelligible by SKB as to
the means by which this was achieved. Thus, providing
additional time before a competitive response would be
delivered.

266. Glaxo internal documents, however, recognized that as a result of its increasing
the spread for Zofran®, SKB would have two options:
Option 1: Decrease the purchase price of Kytril
Option 2: Take a price increase to raise the AWP while
maintaining purchase price to generate a higher
spread than $52.00.
267. In order to increase the spread for Zofran®, Glaxo increased the AWP for a 20

ml injection of Zofran® to $233.02 in January of 1995. This was discussed in an October 27,

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1994 memo entitled “Zofran Pricing Recommendation” and further discussed at a Glaxo
pricing committee meeting on November 4, 1994.

268. In February 1995, the Florida Infusion Chemo Net reported that Glaxo was
increasing the published AWP for Zofran®, but was specifically offering incentives to lower
the actual price offered to medical providers, thereby allowing medical providers to seek

reimbursement at inflated prices. Specifically:

Effective January 3, 1995. Glaxo has increased the acquisition
costs of Zofran injection. The new AWP is set at $233.02.
However, the company has provided incentives to the market
place which will ensure that Zofran price to physicians and
clinics will be lower than the contractual price available prior to
the increase.

269. In March 1996, Glaxo again increased the AWP for Zofran® by 4.8%. In
response, SKB immediately increased the AWP for Kytril by 4.8%. An internal SKB memo,
dated March 21, 1996, entitled “Kytril Price Increase,” states:

I recommend a 4.8% price increase effective March 25, 1996 for
all Kytril presentations. This is in response to a Glaxo Wellcome
price increase of 4.8% for Zofran effective March 8, 1996.

270. Ina Glaxo internal memo dated October 25, 1994, entitled “Issue considerations
on Zofran pricing strategies,” Nancy Pekarek (a communications manager for Glaxo who later
became Vice-President of U.S. Corporate Media Relations) recognized the implications of

increasing the AWP to create a better spread:

If Glaxo chooses to increase the NWP and AWP for Zofran in
order to increase the amount of Medicaid reimbursement for
clinical oncology practices, we must prepare for the potential ofa
negative reaction from a number of quarters. Some likely
responses:

Press: Glaxo’s health care reform messages stressed the
importance of allowing the marketplace to moderate prices. On
the surface, it seems that in response to the entrance of a
competitor in the market, Glaxo has actually raised its price on
Zotran-perhaps twice in one year. How do we explain that price
increase on a drug that is already been cited in the press as one
of, if not the most expensive drug on the hospital formulary?

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If we choose to explain the price increase by explaining the
pricing strategy, which we have not done before, then we risk
further charges that we are cost shifting to government in an
attempt to retain market share.

Congress: Congress has paid a good deal of attention to
pharmaceutical industry pricing practices and is likely to continue
doing so in the next session. How do we explain to Congress an
8% increase in the NWP between January and November of
1994, if this policy is implemented this year? How do we explain
a single 9% increase in the AWP? What arguments can we make
to explain to congressional watchdogs that we are cost-shifting at
the expense of the government? How will this new pricing
structure compare with costs in other countries?

Private insurers, out-of-pocket payers: These groups, and
perhaps others, are likely to incur greater costs as a result of this
pricing strategy. How will they be affected? What response do
we have for them? (Emphasis added.)
271. Glaxo also knew that Zofran® products were being marketed based on the
spread between the actual cost and the published AWP. For example, when Glaxo introduced

the Zofran® premixed IV bag, it used marketing materials which stated:

Convenient

Costs Less Than Vial
Higher AWP

Better Reimbursement

272, Other internal Glaxo documents directly compared the “Profit Per Dose” and
“Profit as %” and “Profit Per Vial” of Zofran® to Kytril®. These comparisons also identified
that in order to increase the spread for Zofran®, Glaxo included “early pay disc” and “rebates”
and “incentive.”

273. In marketing the new Zofran® premixed IV bag, Glaxo produced and used a
document entitled “Profit Maximization — It’s In the Bag.” This document compared Kytril®
to Zofran® based upon its total return of investment (ROI). Specifically, Glaxo’s marketing

materials including the following chart:

Cost AWP Potential Reimbursement/ ROI
Reimbursement/ Year
Patient
Zofran $110.41 | $195.00 84.59 $13,957,350 76.6%

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3mg bag
Kytril $102.73 | $175.00 72.27 $11,924,000 70.3%
1 mg vial

274. Another Glaxo document entitled “Profit Maximization — Continued” reflects
how much “Total Revenue Potential” there was for using Zofran® because of the large spread
between the “cost” and “reimbursement” for various Zofran® products.

275. An intemal SKB document further acknowledges Glaxo’s attempts to use and

market the spread and its effects on the Class:

As of late, Glaxo promotional efforts have focused almost

entirely on the financial benefits of “up-dosing” rather than

efficacy of Zofran. Though physicians have certainly benefited

financially from such tactics, it is costing 3 party payers and

patients more for medication. (Emphasis added.)

276. Ina September 27, 2000 article in USA Today, Glaxo spokesman Rick Sluder

(who received a copy of the October 24, 1994 memo described herein) discussed the issue of
the spread and blamed a system that set up a reimbursement method that relies on average
wholesale prices which are not actually “representative of actual prices.” Mr. Sluder, admitting
that Glaxo changed its wholesale prices to keep up with competitors who changed wholesale
prices, stated “We didn't want to put ourselves at a price disadvantage.” Mr. Sluder also
admitted that the marketing of Glaxo drugs is based, in part, on the spread. In fact, he noted

that Glaxo’s sales staff is briefed on the price advantages to doctors who bill and get
reimbursed based upon the AWP.

2. SKB’s Kytril

277. According to its internal documents (and prior to selling Kytril®’s global rights
to the Roche Group in December 2000), SKB also knew that by creating the spread for
Kytril®, it could directly affect the amount of revenue medical providers receive and thereby

affect overall demand for Kytril®. Specifically, an August 6, 1996 internal SKB memo stated:

In the clinic setting however, since Medicare reimbursement is
based on AWP, product selection is largely based upon the
spread between acquisition cost and AWP.

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* * *

From this analysis, there seems to be no other reason, other than
profitability, to explain uptake differentials between the hospital
and clinic settings, therefore explaining why physicians are
willing to use more expensive drug regimens.
278. Internal SKB documents reveal how it marketed the spread. One internal
document entitled “Price Comparison of Kytril and Zofran for Reimbursement” discussed how
much additional revenue and “spread per patient” a medical provider would make by using

Kytril® due to its larger spread. It stated:

Kytril reimbursement for 5 patients treated $540.00 - Kytril 6
treated patients $423.12

Difference = $117.00 every 6 patients.

Use 5h3 5 times a day = $2,340.00 month. $28,000.00 a year
more!

279. Other internal SKB documents entitled “Cost v. Profit” and “Kytril Profit
Model” compare Kytril® and Zofran® to demonstrate how much additional profit/revenue the
medical provider will receive by using Kytril®.

280. An advertisement in the Florida Infusion Chemo net reveals that SKB created
the spread not only by artificially inflating the AWP for Kytril®, but also by providing

discounts and rebates. Specifically, the advertisement states:

We have been notified that, effective April 1, 1995, SmithKline’s
long running promotional rebate for Kytril purchases will come
to a very successful conclusion.
281. SKB also knew that medical providers were billing Plaintiffs and the Class for a
1 mg single dose vial per patient, but actually were using less than the full single dose per
patient. Depending on the weight of a patient, medical providers were able to use less of the

drug, i.¢., the lighter the patient, the less Kytril® was needed. SKB subsequently introduced a

Kytril® 4 mg Multi-Dose vial that allowed medical providers to bill 6 treatments for the cost of

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4, For example, an SKB marketing document entitled “Kytril Vial Usage” states, “You can use
only three vials of Kytril for four patients.”

282. SKB also used other financial incentives to decrease medical providers’ costs
and thereby increase profits. For example, SKB promised to contribute to research and
education programs through the OnCare Foundation if OnCare agreed to use Kytril instead of a
competing drug.

3. General Counsel Correspondence between Glaxo and SKB

283. Most revealing is an exchange of correspondence between counsel for Glaxo
and SKB over Zofran® and Kytril® in which each accuse the other of fraud.

284. On February 6, 1995, Timothy D. Proctor, Senior Vice President, General
Counsel and Secretary for Glaxo, sent a letter to J. Charles Wakerly, Senior Vice President,
Director and General Counsel of SKB informing him of “several issues pertaining to the

advertising and marketing of Kytril”:

Glaxo’s sales representatives have encountered a substantial
amount of what appear to be “homemade” Kytril vs. Zofran cost
comparisons. It is our understanding that many of these pieces
have been generated through a company-provided lap top
computer program.

In addition, a significant number of these pieces (see Exhibits F-
J) contain direct statements or make references as to how
institutions can increase their “profits” from Medicare through
the use of Kytnl. Some even go so far as to recommend that the
medical professional use one vial of Kytril for two patients (see
Exhibit F) but charge Medicaid for three vials. This raises
significant fraud and abuse issues which I am sure you will want
to investigate.”

285. On February 22, 1995, Ursualy B. Bartels, Vice President and Associate General
Counsel for SKB, wrote in response that SKB was investigating Glaxo’s claims and asked

whether Glaxo had specific information regarding the improper marketing of Kytril. Mr.

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Bartels also accused Glaxo of using false and misleading marketing materials regarding Zofran

that rely on the medical providers’ ability to garner more profit. Specifically, he stated:

Regarding similar concerns, we would like to draw your attention
to reports we are receiving from our field force regarding
reimbursement issues. In an apparent effort to increase
reimbursement to physicians and clinics, effective 1/10/95, Glaxo
increased AWP for Zofran by 8.5%, while simultaneously fully
discounting this increase to physicians. The latter was
accomplished by a 14% rebate available to wholesalers on all
non-hospital Zofran sales on the multi-dose vial. The net effect of
these adjustments is to increase the amount of reimbursement
available to physicians from Medicare and other third party
payors whose reimbursement is based on AWP. (Emphasis
added.) Since the net price paid to Glaxo for the non-hospital
sales of the Zofran multi-dose vial is actually lower, it does not
appear that the increase in AWP was designed to increase
revenue per unit to Glaxo, Absent any other tenable explanation,
this adjustment appears to reflect an intent to induce physicians
to purchase Zofran based on the opportunity to receive increased
reimbursement from Medicare and other third party payors. In
fact, we have had numerous verbal reports from the field
concerning Glaxo representatives who are now selling Zofran
based on the opportunity for physicians to receive a higher
reimbursement from Medicare and other third-party payors while
the cost to the physician of Zofran has not changed. (Emphasis
added.)

286. On April 25, 1995, Adrianna L. Carter, Glaxo Assistant General Counsel,
responded to SKB’s February 22, 1995 letter. Ms. Carter provided, pursuant to SKB’s request,
numerous additional examples of false and misleading marketing materials concerning “cost
comparisons distributed to health care professionals by SmithKline representatives.” Ms.
Carter also denied SKB’s allegations regarding “fraud and abuse” over the price increase of
Zofran. However, Ms. Carter did admit that the AWP price increase for Zofran® does not
affect the actual cost to medical providers and that Glaxo’s sales representatives were using the

“spread” to gain market share. Specifically, Ms. Carter stated:

It is true that, despite a price increase, some physicians and other
healthcare professionals will not see the higher price as the result
of rebates or other incentives.

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It is also true that our sales representatives have been explaining
the relationship between the price and Medicare reimbursement
for Zofran to physicians.

Finally, Ms. Carter stated that despite SKB’s assertions that any
alleged improper marketing of Kytnil would end, “Unfortunately,
despite your efforts, these activities are still ongoing.”

287. The fact that Glaxo and SKB each accused the other of similar conduct, but
neither took any action to bring it to the attention of the public or the appropriate authorities, is
evidence that each of them were engaged in an ongoing scheme to defraud the Class.

288. As set forth above, the GSK Group’s scheme to inflate its reported AWPs and

market the resulting spread to increase the market share of its drugs has resulted in excessive

overpayments by Plaintiffs and the Class.
M. Immunex

289, Immunex has been engaged in an ongoing deliberate scheme to inflate AWPs
and has deliberately attempted to hide its participation in the scheme. In a letter dated
September 28, 2000, to the president of a national pharmaceutical trade group, Representative

Stark exposed Immunex’s scheme, stating:

The documents further expose the fact that certain of your
members deliberately concealed and misrepresented the source of
AWPs:

In a 1996 Barton’s article entitled “Hooked On Drugs,” the
following quote from Immunex appeared (Composite Exhibit
#11):

TIMMUNEX: “But Immunex, with a thriving generic cancer-drug
business, says its average wholesale prices aren’t its own. The
drug manufacturers have no control over the AWPs published . .
. Says spokeswoman, Valerie Dowell. (IMNX003079)

However, Immunex’s own internal documents indisputably
establish the knowledge of the origin of their AWPs and their
active concealment:

LETTER FROM RED BOOK TO IMMUNEX:

Kathleen Stamm
Immunex Corporation. . .

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Dear Kathleen:

This letter is a confirmation letter that we have received and
entered your latest AWP price changes in our system. The price
changes that were effective January 3, 1996 were posted in our
system on January 5, 1996. I have enclosed an updated copy of

your Red Book listing for your files. If there is anything else I
could help you with do not hesitate to call.

Sincerely,
Lisa Brandt,
Red Book Data Analyst

290. The government’s investigation has uncovered substantial evidence that
Immunex’s fraudulent practices are widespread. For example, in a report published by DHHS,
the DOJ documented at least 7 instances where the published AWPs for drugs manufactured by
Immunex were substantially higher than the actual prices listed by wholesalers.

291. The chart below sets forth two examples where Immunex deliberately inflated
AWPs that it reported for Immunex drugs. These figures compare the DOJ’s determination of
an accurate AWP, based upon wholesalers’ price lists, with the AWP reported by Immunex in

the 2001 Red Book.

2001 DOJ
Red Book Determined
Drug AWP Actual AWP Difference Spread
Leucovorin $137.94 $14.58 $123.36 846%
Calcium
Methotrexate $20.48 $7.10 $13.38 188%
Sodium

292. Inareport published by DHHS in 1997, the Department undertook an analysis
of the twenty drug codes that represented the largest dollar outlays to the Medicare program
and compared Medicare’s payments with the prices available to the physician and supplier
communities. For mitoxane hydrochloride, sold by Immunex under the brand name
Novantrone®, the DHHS found that Medicare paid $172.81, while the actual average

wholesale price was $142.40, resulting in a spread of 21.36%.

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